      Case 4:16-cv-01414 Document 632 Filed on 08/21/19 in TXSD Page 1 of 1
                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                      IN THE UNITED STATES DISTRICT COURT                          August 21, 2019
                      FOR THE SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                                HOUSTON DIVISION

MARANDA LYNN ODONNELL, et al.,                 §
on behalf of themselves and all others         §
similarly situated,                            §
                                               §
                      Plaintiffs,              §
                                               §
VS.                                            §           CIVIL ACTION NO. H-16-1414
                                               §
HARRIS COUNTY, TEXAS, et al.,                  §
                                               §
                      Defendants.              §

                                           ORDER

       The Harris County Deputies’ Organization, Fraternal Order of Police Lodge #39, moved

for leave to file an amicus brief opposing parts of the proposed consent decree and settlement

agreement. The motion to file the brief is granted. (Docket Entry No. 629).

                      SIGNED on August 21, 2019, at Houston, Texas.


                                            _______________________________________
                                                               Lee H. Rosenthal
                                                        Chief United States District Judge
